






						NO. 12-07-00413-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


DANNY GENE CROCKER,§
		APPEAL FROM THE THIRD

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		HOUSTON COUNTY, TEXAS

                                                                                                                                                            

OPINION


	Appellant, Danny Gene Crocker, was convicted on his plea of guilty to felony driving while
intoxicated by the trial court after the trial court denied his pretrial motion to quash the two
enhancement allegations in the indictment.  The trial court assessed Appellant's punishment at
imprisonment for three years, probated for three years, in accordance with the plea agreement.  In
two issues, Appellant challenges the legal sufficiency of the evidence and contends that the
enhancement provision of the Texas DWI statute violates the federal and state constitutional
prohibitions of ex post facto laws.  The trial court's certification limited his appeal to the ex post
facto issue, which was raised in his pretrial motion.  We affirm.


Background


	Appellant was previously convicted of DWI on July 7, 1992 in Wood County, Texas and on
March 22, 1993 in Kaufman County, Texas.

	Appellant was charged with a third DWI alleged to have been committed on March 4, 2006, 
and he was thereafter indicted for felony DWI. (1)  In order to establish felony jurisdiction, the State
alleged Appellant's two prior DWI convictions.

	On July 7, 1992 and March 22, 1993, the dates Appellant committed the two prior DWI
offenses alleged in the indictment, the penalty enhancement for previous DWI conviction was
governed by former article 6701-1 of the Revised Texas Statutes.  Article 6701-1 provided that a
DWI conviction for an offense committed more than ten years before the commission of the offense
for which the defendant was being tried could not be used for enhancement unless the defendant had
committed certain crimes within the ten years preceding that date.  Act of May 27, 1983, 68th Leg.,
R.S., ch. 303, § 3, 1983 Tex. Gen. Laws 1568, 1574-77, repealed by Act of May 19, 1993, 73rd Leg.,
R.S., ch. 900, § 1.15, 1993 Tex. Gen. Laws 3586, 3704 (codified as amended at Tex. Penal Code
Ann. § 49.09 (Vernon Supp. 2007)).

	In 2005, the law was changed to provide that any prior DWI conviction, whenever it
occurred, may be used to invoke felony jurisdiction and increase punishment.  See Tex. Penal Code
Ann. § 49.09(b)(2), (d) (Vernon Supp. 2007); see also Acts 2005, 79th Leg., R.S., ch. 996, § 3, 2005
Tex. Gen. Laws 3365, 3366, eff. Sept. 1, 2005 (repealing former penal code section 49.09(e), which
rendered certain prior convictions unavailable for enhancement).


Ex Post Facto Law


	Appellant contends that the 2005 amendment that purports to permit the use of his prior DWI
convictions, both antedating the charged offense by more than ten years, violates the constitutional
proscription against ex post facto laws.  Therefore, he argues, the trial court erred in denying his
motion to quash the enhancement allegations.

Standard of Review and Applicable Law

	A trial court's ruling on a motion to quash is reviewed for abuse of discretion.  Jordan v.
State, 56 S.W.3d 326, 329 (Tex. App.-Houston [1st Dist.] 2001, pet. ref'd)(citing Thomas v. State,
621 S.W.2d 158, 163 (Tex. Crim. App. [Panel Op.] 1980)).

	Both the United States and Texas constitutions prohibit Texas from applying any ex post
facto law.  U.S. Const. art. I, § 10, cl. 1; Tex. Const. art. I, § 16.  Texas courts interpret the ex post
facto prohibition in the Texas Constitution to have the same meaning as that in the federal
constitution.  Grimes v. State, 807 S.W.2d 582, 585-86 (Tex. Crim. App.1991).  Consequently, the
ex post facto proscription in both constitutions prohibits (1) every law that makes an action done
before the passing of the law, and which was innocent when done, criminal, and punishes such
action; (2) every law that aggravates a crime, or makes it greater than it was, when committed; (3)
every law that changes the punishment and inflicts a greater punishment than the law annexed to the
crime when it was committed; (4) every law that alters the rules of evidence to require less, or
different, testimony, than the law required at the time of the commission of the offense in order to
convict the offender.  Carmell v. Texas, 529 U.S. 513, 522, 120 S. Ct. 1620, 1627, 146 L. Ed. 2d 577
(2000).  The sole concern of the appellate court engaged in an ex post facto analysis is whether the
statute in question assigns more severe criminal or penal consequences to an act than did the law in
place when the act occurred, and it is irrelevant whether the statutory change touches any vested
rights.  Grimes, 807 S.W.2d at 587.

Analysis

	The United States Supreme Court and the Texas Court of Criminal Appeals have both held
that enhancement statutes penalize the new criminal offense being enhanced and not the prior offense
used for enhancement.  "The punishment is for the new crime only, but is the heavier if he is an
habitual criminal. . . .  The statute, imposing a punishment on none but future crimes, is not ex post
facto."  Scott v. State, 55 S.W.3d 593, 597 (Tex. Crim. App. 2001) (quoting McDonald v.
Massachusetts, 180 U.S. 311, 312-13, 21 S. Ct. 389, [390,] 45 L. Ed. 542 (1901)).

	Scott is the case relied on by Appellant.  Scott had pleaded guilty in 1991 to the offense of
indecency with a child.  He successfully completed the deferred adjudication he received but was
later convicted of aggravated sexual assault.  Over a defense ex post facto objection, the trial court
permitted the State to use the appellant's successfully completed deferred adjudication to enhance
the punishment for the new offense.  Scott pleaded true to the enhancement allegation and received
a mandatory life sentence.  Scott, 55 S.W.3d at 595.

	When Scott pleaded guilty in 1991, the deferred adjudication statute provided that a
discharged deferred adjudication would not be considered a conviction except in certain
circumstances, none of which involved the use of a deferred adjudication to enhance a subsequent
offense.  Id.  In 1997, the law was amended to allow a deferred adjudication for certain crimes to
count as a conviction "regardless of whether the sentence was ever imposed or whether the sentence
was probated and the defendant was subsequently discharged from community supervision[.]"  Tex.
Penal Code Ann. § 12.42(g)(1) (Vernon Supp. 2007).

	Scott appealed claiming the use of the prior deferred adjudication violated the United States
Constitution's prohibition against ex post facto laws.  The court of criminal appeals acknowledged
that in its previous decisions addressing the issue of prior crimes used to enhance punishment, it had
declined to find an ex post facto violation.  Scott, 55 S.W.3d at 597.  In Scott, however, the court
held that the statute in effect in 1991 when Scott received deferred adjudication contained an
"explicit limitation on the collateral consequences of deferred adjudication," and that Scott was
entitled to rely on that restriction.  Id.  "Punishment for the [earlier] offense is increased by the
removal of the statutory restriction, and such an increase in punishment constitutes an ex post facto
law."  Id. at 597-98.

	In his motion to quash and on appeal, Appellant insists that the time limitations on the use
of a DWI conviction also constituted an "explicit statutory restriction" on which he, like Scott, was
entitled to rely.  In his view, the 2005 amendment to the DWI enhancement statute is an ex post facto
law, because it increased the punishment for the prior DWI convictions beyond what the law
permitted at the time of their commission.  Other courts of appeal have addressed the identical
argument that the removal of the ten year time limitation on the use of prior convictions for
enhancement in DWI cases is analogous to the amendment regarding deferred adjudication discussed
in Scott removing the prohibition of their use for enhancement purposes.  Without exception, the
courts considering the question have held that the former ten year time limitation on the use of DWI
convictions "was not an explicit guarantee that those convictions could not be used in the future, but
only a restriction on what prior convictions could be used to enhance an offense at that time."  State
v. Pieper, 231 S.W.3d 9, 15 (Tex. App.-Houston [14th Dist.] 2007, no pet.); see also Saucedo v.
State, No. 03-06-00305-CR, 2007 WL 1573948, at *4 (Tex. App.-Austin May 30, 2007, no pet.) 
(mem. op., not designated for publication); Romo v. State, No. 04-05-00602-CR, 2006 WL 3496933,
at *2 (Tex. App.-San Antonio 2006, no pet.) (mem. op., not designated for publication).  We believe
Pieper was correctly decided, and we adopt its holding.  Therefore, we conclude that the 2005
changes did not increase Appellant's punishment for his prior convictions and did not constitute an
ex post facto law.  Appellant's second issue is overruled.


Sufficiency of the Evidence


	In his first issue, Appellant contends "[t]he evidence was legally insufficient to support the
conviction, because the two prior DWI convictions used to enhance the offense to a felony were an
element of the offense and occurred prior to the [2005] enactment of the statute."  In our disposition
of Appellant's second issue, we held that the 2005 enactment deleting the ten year limitation on the
use of DWI convictions was not an ex post facto law, and therefore their use to enhance Appellant's
punishment was proper.  Moreover, the trial court did not give Appellant permission to appeal
matters except those raised by written motion and ruled on before trial, and Appellant did not raise
the issue of the insufficiency of the evidence in his motion to quash.  See Tex. R. App. P. 25.2(a)(2). 
Therefore, we lack jurisdiction to consider this issue.  See Chavez v. State, 183 S.W.3d 675, 679
(Tex. Crim. App. 2006) (procedures in Texas Rule of Appellate Procedure 25.2 must be followed
to invoke appellate jurisdiction).


Disposition


	The judgment of the trial court is affirmed.



								    BILL BASS    

									Justice



Opinion delivered July 16, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Bass, Retired Justice, Twelfth Court of Appeals, Tyler,

sitting by assignment.




(PUBLISH)
1.        See Tex. Penal Code Ann. § 49.09(b)(2) (Vernon Supp. 2007).


